
676 So.2d 1326 (1996)
Allan Dyoll GANN
v.
Angela Dawn Gann BRYOWSKY.
2940263.
Court of Civil Appeals of Alabama.
April 12, 1996.
M. Lionel Leathers of Hollis, Leathers &amp; Leathers, P.C., Winfield, for Appellant.
Jerry Guyton of Fite, Davis, Atkinson, Guyton and Bentley, P.C., Hamilton, for Appellee.

After Remand from the Supreme Court
ROBERTSON, Presiding Judge.
The prior judgment of this court has been reversed and the cause remanded by the Supreme Court of Alabama. On remand to this court, and in compliance with the Supreme Court's opinion, 676 So.2d 1322 (Ala. 1996), the judgment of the trial court is hereby affirmed.
AFFIRMED.
THIGPEN, YATES, MONROE, and CRAWLEY, JJ., concur.
